
USCA1 Opinion

	





          March 27, 1995                                [Not for Publication]
                                [Not for Publication]                            United States Court of Appeals
                            United States Court of Appeals                                For the First Circuit
                                For the First Circuit                                 ____________________        No. 94-1693                                    GEBRAN HANNA,                                Petitioner, Appellant,                                          v.                              UNITED STATES OF AMERICA,                                Respondent, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________                                 ____________________                                        Before                                 Selya, Circuit Judge,
                                        _____________                            Coffin, Senior Circuit Judge,
                                    ____________________                              and Stahl, Circuit Judge.
                                         _____________                                 ____________________            Salvatore C. Adamo for appellant.
            __________________            Kevin  P. McGrath,  Assistant United  States Attorney,  with  whom
            _________________        Donald K. Stern, United States Attorney, was on brief for appellee.
        _______________                                 ____________________                                 ____________________



                      STAHL,  Circuit Judge.    Petitioner  Gebran  Hanna
                      STAHL,  Circuit Judge.
                              _____________            appeals from the dismissal without hearing of his 28 U.S.C.              2255 motion  to vacate, set  aside, or correct  his sentence.            We affirm.                                          I.
                                          I.
                                          __                                      Background
                                      Background
                                      __________                      Pursuant to  a plea agreement with  the government,            on  February 19, 1993, just  three days before  his trial was            scheduled to begin, petitioner pled guilty to two counts of a            superseding indictment.1   Count One  charged petitioner  and            nine other defendants with conspiring, between March 1988 and            August  1991, to  import  hashish from  Beirut, Lebanon  into            Boston, Massachusetts,  in violation  of 21 U.S.C.     952(a)            and  963.   Count  Two  charged  petitioner and  three  other            defendants  with  conspiring   to  possess  with  intent   to            distribute,  and to  distribute, hashish  in violation  of 21            U.S.C.    841(a) and 846.                      The  district  court  departed  below  the  minimum            mandatory sentence and sentenced  petitioner to eight  years'            imprisonment,  plus five  years of  supervised release  and a                                
            ____________________            1.  On August 26, 1991, petitioner and others were charged in            a two-count indictment with one count of conspiracy to import            hashish and one count  of conspiracy to possess hashish  with            the intent  to distribute it.   On  January 31, 1992,  a six-            count superseding indictment  was filed, charging  petitioner            with  the same  two  conspiracy counts  plus two  additional,            related  substantive counts.    Eleven other  defendants were            charged in various counts of the superseding indictment.                                         -2-
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            special assessment  of $100.00.   Petitioner did  not appeal.            On February  14,  1994, petitioner  sought collateral  relief            pursuant  to   2255, which  the district court  denied.  This            appeal followed.                                         II.
                                         II.
                                         ___                                      Discussion
                                      Discussion
                                      __________                      Section  2255 provides  that federal  prisoners may            file a motion  in the  "court which imposed  the sentence  to            vacate,  set aside  or  correct the  sentence."   To  receive            relief,  a  petitioner  must  establish  a  jurisdictional or            constitutional error, "a fundamental defect  which inherently            results  in  a  complete  miscarriage  of  justice,"  or  "an            omission inconsistent  with the  rudimentary demands  of fair            procedure."  Hill v. United States, 368 U.S. 424, 428 (1962).
                         ____    _____________            A.  Failure to Hold a Hearing
            _____________________________                      Petitioner first  argues  that the  district  court            abused  its  discretion by  failing  to  hold an  evidentiary            hearing  to consider  his    2255  motion.   In  making  this            argument, petitioner  primarily relies  on the language  of              2255, which provides, in pertinent part:                        Unless  the  motion  and  the  files  and                      records  of  the  case conclusively  show                      that  the  prisoner  is  entitled  to  no                      relief,  the  court  shall  cause  notice                      thereof  to  be  served upon  the  United                      States attorney, grant  a prompt  hearing
                                       ________________________                      thereon,  determine  the issues  and make
                      _______                                         -3-
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                      findings of fact  and conclusions of  law                      with respect thereto.          28 U.S.C.   2255 (emphasis added).                      We have previously held that   2255 does not create a          special presumption in favor  of an evidentiary hearing.   United
                                                                     ______          States v. McGill, 11 F.3d 223, 225 (1st Cir. 1993).  A hearing is
          ______    ______          not necessary  "`when a    2255 motion (1)  is inadequate  on its          face, or  (2) although facially adequate  is conclusively refuted          as  to the alleged facts by the  files and records of the case.'"          Id.   at 225-26 (quoting Moran v. Hogan, 494 F.2d 1220, 1222 (1st
          ___                      _____    _____          Cir. 1974)).   "In  other words,  a   2255  motion may  be denied          without a hearing as  to those allegations which, if  accepted as          true,  entitle the  movant to  no  relief, or  which need  not be          accepted as true because they state conclusions instead of facts,          contradict the record, or are inherently incredible."  McGill, 11
                                                                 ______          F.3d at 226 (quotation and citation omitted).                      When  a  petition  is  brought  under     2255,  "the          petitioner  bears  the burden  of  establishing the  need  for an          evidentiary hearing."  Id. at 225.  This burden is more difficult
                                 ___          when the  petition is presented to  the trial judge, for  in such          circumstances "the judge  is at liberty  to employ the  knowledge          gleaned during  previous  proceedings  and  make  findings  based          thereon without convening an additional hearing."  Id. 
                                                             ___                      Judge Woodlock presided  over petitioner's case  from          the beginning, including his   2255 motion.  Because we agree, as          explained below, that none of petitioner's stated grounds entitle                                         -4-
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          him  to relief, we hold that there  was no abuse of discretion in          not holding an evidentiary hearing.          B.  Guilty Plea:  Knowing and Voluntary?
          ________________________________________                      Petitioner  argues  that  during  the  change-of-plea          hearing, the district court failed to explain the consequences of          a guilty plea, specifically  its permanence, its maximum possible          penalty, whether it  carried a fine,  and its supervised  release          term.  Petitioner argues that such failure violated Fed. R. Crim.          P. 11(c),2 and that because of such failure,  his guilty plea was                                
            ____________________            2.  Fed. R. Crim. P. 11(c) provides:                      "Advice to  Defendant.  Before accepting  a plea of
                       Advice to  Defendant.            guilty  or  nolo  contendere,  the  court  must  address  the            defendant personally  in open court and  inform the defendant            of,  and   determine  that  the  defendant  understands,  the            following:                      "(1)  the nature of the charge to which the plea is            offered, the  mandatory minimum  penalty provided by  law, if            any,  and  the  maximum  possible penalty  provided  by  law,            including  the effect  of  any special  parole or  supervised            release term, the fact that the court is required to consider            any  applicable  sentencing  guidelines but  may  depart from            those   guidelines  under   some  circumstances,   and,  when            applicable,  that the court  may also order  the defendant to            make restitution to any victim of the offense; and                      "(2)  if the  defendant  is not  represented by  an            attorney, that the defendant has  the right to be represented            by  an  attorney at  every stage  of  the proceeding  and, if            necessary, one will be  appointed to represent the defendant;            and                      "(3) that the  defendant has the right to plead not            guilty or  to persist in  that plea  if it  has already  been            made, the right to be tried  by a jury and at that trial  the            right to the assistance of counsel, the right to confront and            cross-examine  adverse  witnesses,   and  the  right  against            compelled self-incrimination; and                      "(4) that if a plea of guilty or nolo contendere is            accepted by the  court there will  not be a further  trial of            any kind, so that  by pleading guilty or nolo  contendere the            defendant waives the right to a trial; and                                         -5-
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          "unknowing."   The  government concedes  that the  district court          "did not explicitly state the maximum penalties that [petitioner]          faced   at  the   change-of-plea   hearing,"  but   argues   that          petitioner's plea was still knowing and voluntary.                      Fed.  R. Crim.  P.  11(h) expressly  provides:   "Any          variance from the procedures required by this rule which does not          affect  substantial  rights  shall  be  disregarded."    Thus,  a          violation of Rule 11 will  not necessarily entitle petitioner  to          relief.  See United States v. Timmreck, 441  U.S. 780, 785 (1979)
                   ___ _____________    ________          ("collateral  relief is not available when all that is shown is a          failure to comply with the formal requirements of [Rule 11]").                      In denying petitioner's    2255 motion, the  district          court held:                      Contrary to  petitioner's assertions, the                      record   substantiates  that   before  he                      tendered   his   plea   of  guilty,   the                      petitioner  was  made aware  of potential                      maximum  penalties.   The  Rule  11  plea                      colloquy    incorporated   by    explicit                      reference  the   written  plea  agreement                      which     recited     those    penalties.                      Petitioner was reminded  of the  maximums                      in  the Presentence Report.   The belated                      assertion  of  this  claim,   well  after                      petitioner  was  aware  of   the  maximum                      penalties,  demonstrates  that a  further                      express recitation by the court itself of                      the  potential  maximum  penalty was  not                      material to his plea decision.                                
            ____________________                      "(5) if the court intends to question the defendant            under oath, on  the record,  and in the  presence of  counsel            about the  offense to which  the defendant has  pleaded, that            the  defendant's  answers  may  later  be  used  against  the            defendant in a prosecution for perjury or false statement."                                         -6-
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          We find no error in this holding.                      Petitioner argues that his limited English skills and          his  inability to  read  or write  made  it imperative  that  the          district court recite  the maximum penalties  during the Rule  11          plea  colloquy.   The  record  clearly  indicates, however,  that          petitioner  was  informed of  the  maximum  penalties at  several          points prior to the change-of-plea hearing, including just before          the hearing, when the plea agreement was read to him in Arabic by          the court interpretor.  In light of this,  the district court did          not  clearly err in finding that, even though it had neglected to          inform petitioner of the  maximum penalties during the change-of-          plea hearing, petitioner  nevertheless understood those penalties          when he pled guilty.          C.  Factual Basis for Plea
          __________________________                      Petitioner also argues that the  district court erred          in  finding that  there was  a sufficient  factual basis  for his          plea.    First,  petitioner argues  that  he  had  not agreed  to          participate in  the conspiracy before the  government rendered it          impossible  by seizing  the hashish.   Second,  petitioner argues          that,  at most,  the government's  proof  showed an  agreement to          import hashish into Canada in violation of no United States law.                      Petitioner  bases  his  arguments  on  the  following          statement made by the prosecutor at the change-of-plea hearing:                      On August 30th,  1991, Mr. Hanna returned                      from  Montreal to Boston  for the purpose                      of   continuing  discussions   with  [co-                      defendant   Peter]   Kattar   about   the                                         -7-
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                      Canadian's position on  the sale of  this                      hashish and  it was at that  time that he                      was arrested at the airport.          Based on  this statement, petitioner  argues that the  August 26,          1991  indictment  was  returned  "before Mr.  Hanna,  a  Canadian          citizen,  had  made an  agreement  with  Peter Kattar  for  drugs          already seized by the government."                      We  hold that the district  court did not clearly err          in  finding  that  there  was  a  sufficient  factual  basis  for          petitioner's plea.  Before making the above-quoted statement, the          prosecutor recited  several facts  to the effect  that petitioner          had begun to participate in the conspiracy as early as 1990, when          he gave "advice and assistance" to Kattar in an  effort to import          5,000 kilograms  of hashish from Lebanon into  the United States.          The  prosecutor cited  more facts  that showed  that petitioner's          involvement  in  the   conspiracy  continued   into  1991,   with          petitioner  working closely with Kattar  to free Kattar's load of          hashish from Lebanon.  The  prosecutor also highlighted a  period          of a few  weeks during  August 1991, when  petitioner engaged  in          extensive negotiations with  Kattar and  others in  an effort  to          purchase Kattar's  hashish shipment.3   During that  time period,                                
            ____________________            3.  The Presentence Report indicates that at the same time he            was  working to free  Kattar's load of  hashish from Lebanon,            petitioner  was  also  involved  in  an  independent  hashish            conspiracy for which  petitioner had  accepted $350,000  from            investors for ten tons of  hashish.  Petitioner, however, was            unable to deliver that hashish to his investors, so he turned            to Kattar for assistance and arranged to swap loads with him;            under this arrangement, the details of which were still being            worked  out  at the  time of  his  arrest, petitioner  was to                                         -8-
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          petitioner travelled from Lebanon to the  United States, and then          between Boston, Montreal, and Ottawa, all in furtherance of these          negotiations.                      After hearing these  facts, the district  court asked          petitioner, "Mr. Hanna, you have heard what [the prosecutor] says          is the Government's evidence in this case.   Do you disagree with          any of that?"   Petitioner responded by making one clarification,          about which the district court  questioned the prosecutor.4   The          district court then asked petitioner, "Mr. Hanna, do you disagree          with  anything  that [the  prosecutor] has  to say?"   Petitioner          responded,  "No."  The district court then asked, "That's the way          it happened?"  Petitioner responded, "Yes."                        We   hold  that   these   facts,   and   petitioner's          admissions,   established   a   sufficient   factual   basis  for          petitioner's  guilty plea.  We  further hold that,  to the extent          petitioner  makes a  jurisdictional  argument,  the  conspiracies          charged  were  plainly  within  the jurisdiction  of  the  United          States.          D.  Ineffective Assistance of Counsel
          _____________________________________                                
            ____________________            deliver  the  hashish Kattar  was  bringing  into the  United            States to his  Canadian investors and  Kattar was to  receive            petitioner's hashish when it arrived.            4.  Petitioner stated, "The  load came to  Italy, not to  the            United States  -- to  Italy --  to Italy,  not to the  United            States.   Who brought the  load to  the United States?"   The            prosecutor responded to the district court's questioning that            the hashish had gone to Italy after it left Lebanon, but that            it  was then brought to  the United States,  where the United            States Customs Service seized it.                                         -9-
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                      Petitioner  also  argues  that  he  did  not  receive          effective  assistance  of counsel.    Petitioner  focuses on  two          different attorneys:   Brown, who was appointed  to represent him          soon after  he was indicted and  who was to defend  him at trial,          and  McBride,  whom  petitioner retained  for  the change-of-plea          hearing.  We find petitioner's arguments waived.                        Petitioner argues on appeal  that he only pled guilty          because he was  unwilling to  go to trial  represented by  Brown,
                                
            ____________________            5.  Prior to changing his plea, petitioner filed a motion for
          with  whom he  was dissatisfied.5   Petitioner did  not, however,            withdrawal  of Brown as counsel.  Both the magistrate and the            district   court,  after   hearings,  found   Brown  entirely
          indicate  that that  was the  reason for his  guilty plea  at the            satisfactory and  denied  petitioner's motion.    On  appeal,            petitioner argues  that Brown misinformed the  magistrate and
          change-of-plea  hearing.   Rather, petitioner indicated  that his            the district  court about  the extent of  his representation.            We do  not consider  these allegations, however,  because the
          plea   was   voluntary.6       Accordingly,   petitioner   waived            proper  time to  challenge  the district  court's refusal  to            grant petitioner's motion  would have been before  petitioner            changed his plea.   We  note, however, that  even if  Brown's            alleged  misrepresentations had been  brought to the district            court's  attention at  the  appropriate  time, they  probably            would  not have  changed the  district court's  ruling as  to            Brown's effectiveness.                        Petitioner  also  contends  that  he  was  denied            counsel altogether  at an important stage  in the proceedings            because the  district court  did not  appoint an attorney  to            help  him make his motion for withdrawal of Brown as counsel.            Petitioner did  not, however, ever ask  either the magistrate            or the  district court to appoint counsel  (other than Brown)            to help him  make this motion.  While we  doubt that we would            hold  a  refusal to  appoint  alternative  counsel for  these            hearings  an  abuse of  discretion, we  will  not do  so when            petitioner made no request for alternative counsel.            6.  Prior to accepting petitioner's  plea, the district court            asked petitioner's counsel, "Mr. McBride,  do you know of any            reason  why I shouldn't  accept a plea?"   McBride responded,            "No, Your  Honor.  I have had ample opportunity to speak with            him.   I'm satisfied that  the decision he's  making today is            voluntary, intelligent, and knowing.  And I have urged him to            do  that because I  consider it  to be  in his  best interest            based  upon the  overwhelming  evidence  that the  Government            has."                                          -10-
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          consideration   of   the    effectiveness   of   Brown's    prior          representation.                      At oral argument, petitioner argued that McBride  did          not provide effective  assistance because he  did not inform  the          district court  at sentencing  that petitioner had  substantially          assisted  the  government by  persuading  a  federal prisoner  to          cooperate.     Petitioner  did  not,  however,   provide  factual          information about  this assistance during oral  argument, nor did          he develop this  argument in  his brief.   In fact,  petitioner's          brief fails  to identify  any aspect of  McBride's representation          that   fell  below  the  standard  of  effective  representation.          Accordingly,   we    deem   the   effectiveness    of   McBride's          representation waived.   See Alan Corp.  v. International Surplus
                                   ___ __________     _____________________          Lines  Ins. Co., 22 F.3d  339, 343-44 (1st  Cir. 1994) (arguments
          _______________          presented   in   a    perfunctory   manner,   without   developed          argumentation, may be deemed waived).                                         -11-
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                                         III.
                                         III.
                                         ____                                      Conclusion
                                      Conclusion
                                      __________                      Because   none   of   petitioner's    arguments   are          meritorious,7  the  decision  of   the  district  court  to  deny          petitioner's motion for collateral relief pursuant to   2255 is                      Affirmed.
                      Affirmed
                      ________                                
            ____________________            7.  Petitioner also argues that the government denied him due            process  by  failing  to  advise the  district  court  at his            change-of-plea hearing that his guilty plea was made pursuant            to an  all-or-nothing plea offer  by the government,  i.e., a            plea offer that was  contingent upon the guilty pleas  of all            of  his co-defendants.  While  it is not  entirely clear from            the record, it is apparent that petitioner did not accept the            government's  all-or-nothing  plea  offer,  but  instead pled            pursuant to a different plea offer.                                         -12-
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